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 1                                                                Honorable Robert J. Bryan
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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 8
     UNITED STATES OF AMERICA,              )
 9                                          )
                           Plaintiff,       )     NO: CR09-05452RJB
10
                                            )
            vs.                             )     ORDER ALLOWING WITHDRAWAL
11
                                            )     AND SUBSTITUTION OF COUNSEL
12                                          )
     JUAN ANTONIO MOLINA-ABARCA,            )
13                                          )
                           Defendants.      )
14                                          )

15          THIS MATTER having come on regularly before the above-

16   entitled Court upon the Motion for Withdrawal and Substitution

17   of Counsel for JUAN ANTONIO MOLINA-ABARCA, the Court having
18   considered the Motion and the Declaration of ROBERT G. MEYERS
19
     in support of the Motion for Withdrawal and Substitution of
20
     Counsel, the Court having reviewed the files and records of
21
     this proceeding and in all respects being fully advised, now,
22
     therefore, it is hereby
23
            ORDERED that LANCE M. HESTER, current Attorney for JAUN
24
     ANTONIO MOLINA-ABARCA, is withdrawn as counsel of record
25
     ORDER FOR WITHDRAWAL                                 ROBERT G. MEYERS, WSBA #15199
     AND SUBSITUTION OF COUNSEL                        LAW OFFICES OF JAMES V. NEWTON, PLLC
                                                            428 WEST HARRISON STREET
                                                             KENT, WASHINGTON 98032
                                                          (253) 852-6600 - FAX (253) 852-6800
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 1   effective immediately and that ROBERT G. MEYERS shall be

 2   allowed to substitute in as Attorney of record for JUAN ANTONIO
 3   MOLINA-ABARCA, effective immediately.
 4
            IT IS SO ORDERED this 4th day of November, 2009.



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 7                                   ROBERT J. BRYAN
                                     United States District Judge
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12
                                                /s/Robert G. Meyers
13                                              ROBERT G. MEYERS
                                                WSBA#15199
14                                              Law Offices of James Newton
                                                428 West Harrison Street
15                                              Kent, WA 98032
                                                Telephone: (253)852-6600
16                                              Fax: (253) 852-6800
                                                E-mail: Bob@jimnewtonlaw.com
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     ORDER FOR WITHDRAWAL                              ROBERT G. MEYERS, WSBA #15199
     AND SUBSITUTION OF COUNSEL                     LAW OFFICES OF JAMES V. NEWTON, PLLC
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